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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 1:22-mc-20707-JEM/JB

  FARHAD AZIMA,

                 Applicant,

  v.

  INSIGHT ANALYSIS AND RESEARCH
  LLC and SDC-GADOT,

              Respondent.
  __________________________________________/

                                                ORDER

          THIS CAUSE came before the Court on Non-Party’s Motion to Quash Subpoena and

  Service of Subpoena, and Motion for Protective Order (the “Motion to Quash”), ECF No. [7], and

  Petitioner’s Cross Motion to Compel Document Production and Rule 30(b)(6) Deposition

  Testimony from Respondents (the “Cross Motion to Compel”), ECF No. [14]. This Order

  memorializes the Court’s ruling as follows:

       (1) The Cross Motion to Compel is hereby GRANTED. Respondents were properly served

          and have elected not to appear for deposition. For the reasons stated at the hearing,

          Respondents are hereby ORDERED to provide its corporate representative(s) to appear

          for a deposition and produce documents as requested by the subpoenas.

       (2) The deposition of the representative for Respondent Insight Analysis and Research LLC

          will be on Wednesday, June 15, 2022, at 10:00 a.m., and the deposition of the

          representative for Respondent SDC-Gadot LLC will be on Wednesday, June 15, 2022, at

          2:00 p.m.




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     (3) Respondents’ failure to attend the deposition and/or otherwise comply with the subpoenas

        that have been served could result in SANCTIONS under Rule 37 of the Federal Rules of

        Civil Procedure.

     (4) Should Respondents fail to comply with this Order, Petitioner shall email Chambers to set

        the matter for hearing no later than June 20, 2022, and may file a motion of no more than

        5 pages regarding what sanctions should be imposed for Respondent’s failure to comply

        with this Court’s Order.

     (5) The Motion to Quash is hereby GRANTED, without prejudice to Petitioner submitting an

        amended application for leave to subpoena Mr. Forlit pursuant to 28 U.S.C. § 1782 by

        Friday, June 10, 2022. Any response shall be filed by Friday, June 17, 2022, and any

        reply shall be filed by Tuesday, June 21, 2022. The Court will then set the matter for

        hearing within a week of the filing of the Reply.

        DONE AND SUBMITTED in Chambers at Miami, Florida, on June 8, 2022.



                                                _________________________
                                                JACQUELINE BECERRA
                                                United States Magistrate Judge




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